     Case 1:16-cr-00007-MW-GRJ   Document 104     Filed 09/21/16   Page 1 of 4



                                                                          Page 1 of 4


           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                            Case No. 1:16-cr-7-MW-GRJ

TICCO EARL WRIGHT
____________________________/

                    REPORT AND RECOMMENDATION

       On this date, the Defendant, TICCO EARL WRIGHT, his attorney,

and the attorney for the Government appeared before the undersigned for

the purpose of considering Defendant’s entry of a guilty plea to conspiracy

to distribute and possess with intent to distribute heroin in violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(B)(i), and 846, as charged in Count 1 of the

Indictment, distribution of heroin in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(C), as charged in Count 12 of the Indictment, and possession of a

firearm in furtherance of a drug trafficking offense, in violation of 18 U.S.C.

§ 924(c)(1)(A)(i), as charged in Count 22 of the Indictment. The district

judge referred this matter to the undersigned for purposes of hearing

Defendant's proposed change of plea pursuant to Fed. R. Crim. P. 11 and

to enter a report and recommendation as to whether to accept the change

of plea. All parties consented to this procedure, and the written consent
   Case 1:16-cr-00007-MW-GRJ        Document 104   Filed 09/21/16   Page 2 of 4



                                                                           Page 2 of 4


has been entered.

      The Court addressed Defendant personally in open court, and after

assuring that Defendant was competent to proceed and had consented to

pleading guilty, the Court finds:

      1. Defendant is mentally alert, appears to be reasonably intelligent,

and understands the nature of the charges as to which the plea is offered

and the consequences of a guilty plea.

      2. Defendant understands that he has a right to trial by jury, to persist

in his plea of not guilty, to assistance of counsel at trial, to confront and

cross-examine adverse witnesses, and that he has a right against

compelled self-incrimination.

      3. Defendant understands the maximum possible sentence he faces

if the guilty plea is accepted, including the effect of the supervised release

term, and understands that the sentencing guidelines apply and that the

court may depart from those guidelines under some circumstances.

      4. The plea of guilty by the Defendant has been freely, knowingly,

and voluntarily made and is not the result of force or threats or of any

promises except for those promises contained in the written plea

agreement between the parties.
   Case 1:16-cr-00007-MW-GRJ     Document 104    Filed 09/21/16   Page 3 of 4



                                                                         Page 3 of 4


      5. Defendant is competent to plead guilty.

      6. Defendant understands that his answers during the plea colloquy,

which were under oath, may be later used against her in a prosecution for

perjury or false statement.

      7. There is a factual basis for Defendant’s guilty plea.

      8. There is a plea agreement which should be accepted by the

district court. Defendant understands the terms of the plea agreement.

      9. Defendant has made his decision to plead guilty with the advice

and counsel of a competent attorney with whom Defendant acknowledged

he was satisfied.

     10. Defendant has voluntarily consented to go forward with his plea

of guilty before the undersigned. He understands that he has waived the

ten-day period for filing objections to this report and recommendation, and

he agrees that he has twenty-four hours from receipt of a copy of this

report and recommendation in which to file written objections, if any. The

United States also consents to this procedure, including

the shorter period for objections.

      Accordingly, it is RECOMMENDED that the Court ACCEPT the plea
   Case 1:16-cr-00007-MW-GRJ   Document 104   Filed 09/21/16   Page 4 of 4



                                                                      Page 4 of 4


agreement and Defendant’s plea of guilty.

        IN CHAMBERS at Gainesville, Florida, this 21st day of September,

2016.


                                  s/ Gary R. Jones
                                  GARY R. JONES
                                  United States Magistrate Judge

                        NOTICE TO THE PARTIES

      A party may file specific, written objections to the proposed
findings and recommendations within 24 hours after receiving a copy of
this report and recommendation.
